947 F.2d 937
    Toy (Doris Cecelia Edzwald)v.Borough of Berlin, Borough of Clementon, Saunders (George),Ritten (Policeman), Lutz (Chief of Police), Gaw (Lt.),Tophans (Lowell), Gangluff (Jacob), Clayton, Wooser(Richard), Camden County Complex, Larson (Hon. Craig),County of Camden, Dukes (Deputy Fire Marshall)
    NO. 91-5135
    United States Court of Appeals,Third Circuit.
    OCT 04, 1991
    
      Appeal From:  D.N.J.,
      Brotman, J.
    
    
      1
      AFFIRMED.
    
    